Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 1 of 22




                                     EXHIBIT F

                              Sixth Monthly Fee Statement




 DOCS_LA:338148.1 05067/002
Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 2 of 22




                        IN THE UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA

     In re:                                                      Case No. 20-10846

     THE ROMAN CATHOLIC CHURCH                                   Section “A”
     OF THE ARCHDIOCESE OF NEW
     ORLEANS,                                                    Chapter 11
                        Debtor. 1
                                                                 Objection Deadline: June 8, 2021




  MONTHLY FEE AND EXPENSE STATEMENT OF BERKELEY RESEARCH GROUP,
      LLC FOR THE PERIOD MARCH 1, 2021 THROUGH MARCH 31, 2021

              1.   In accordance with Section XIII(B) of the Court’s December 4, 2019 General

 Order Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case Order”),

 Berkeley Research Group, LLC (“BRG”), as financial advisor to the Official Committee of

 Unsecured Creditors (the “Committee”) in this Chapter 11 case concerning the above captioned

 debtor and debtor-in-possession (the “Debtor”) hereby submits its Monthly Fee and Expense

 Statement (the “Statement”) for the period from March 1, 2021 through March 31, 2021 (the

 “Statement Period”) for the above-styled Chapter 11 bankruptcy case (collectively, the

 “Bankruptcy Case”).

              ITEMIZATION OF SERVICES RENDERED AND EXPENSES INCURRED

              2.   The BRG timekeepers (collectively, the “Timekeepers”) who rendered services to

 the Committee in connection with the Bankruptcy Case during the Statement Period, including the

 hourly rate, title, and fees earned by each Timekeeper, is attached hereto as Exhibit A.




 1
   The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
 business is located at 7887 Walmsley Ave., New Orleans, LA 70125.


                                                         1
Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 3 of 22




        3.      The detailed time record of BRG for the Statement Period are attached hereto as

 Exhibit B.

        4.      In addition, under separate cover, the detailed time record under Exhibit B will be

 sent to the Office of the United States Trustee in the LEDES format.

        As of the date hereof, BRG has received the following payments for fees and expenses

 incurred from the Debtors’ estates post-petition: None.

       TOTAL FEES AND EXPENSES SOUGHT FOR THE STATEMENT PERIOD

        5.      The total amounts sought for fees for professional services rendered and

 reimbursement of expenses incurred for the Statement Period are as follows:

                                March 1, 2021 to March 31, 2021

               Fees (at standard rates)                          $33,913.00

               Voluntary reduction                              ($4,413.50)

               Fees (after reduction)                            $29,499.50



               Expenses                                                 $0.00

               Total                                             $29,499.50




                                                 2
Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 4 of 22




                         NOTICE AND OBJECTION PROCEDURES

        6.      In accordance with the Interim Compensation Order, notice of the Statement has

 been served upon the following parties (“Notice Parties”) as required by the Complex Case Order:

 (i) counsel for the Debtor, Mark Mintz, Esq., Jones Walker LLP, 201 St. Charles Ave, New

 Orleans, LA 70170-5100; (ii) counsel for the prepetition secured lender, Hancock Whitney Bank,

 David F. Waguespack, Esq., Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux,

 L.L.C., 1100 Poydras Street, Suite 3100, New Orleans, Louisiana 70163-1102; (iii) KS State Bank,

 1010 Westloop, P.O. Box 69, Manhattan KS 66505-0069; (iv) Dell Financial Svc LP, Mail Stop

 P82DF, 23 One Dell Way, Round Rock TX 78682; (v) David S. Rubin, Butler Snow LLP, 445

 North Boulevard, Suite 300, Baton Rouge, LA 70802; (vi) Colleen Murphy, Greenberg Traurig,

 One International Place, Suite 2000, Boston, MA 02110; (vii) Annette Jarvis, Greenberg Traurig,

 222 S. Main Street, Fifth Floor, Salt Lake City, UT 84101; and (viii) Amanda George, Esq., Office

 of The United States Trustee, 400 Poydras Street, Suite 2110, New Orleans, LA 70130.

        7.      Also pursuant to the Complex Case Order, any objections to this Statement must

 be asserted on or before June 8, 2021 (the “Objection Deadline”), setting forth the nature of the

 objection and the specific amount of fees or expenses at issue.

        8.      If no objections to the Statement are received on or before the Objection Deadline,

 the Debtor, pursuant to the Complex Case Order, is authorized to pay BRG on an interim basis the

 total amount of $23,599.60 which consists of eighty percent (80%) of BRG’s total fees of

 $29,499.50 or $23,599.60, and one hundred percent (100%) of BRG’s total expenses of $0.00 for

 the Statement Period.

        9.      To the extent an objection to the Statement is received on or before the Objection

 Deadline, the Debtor is to withhold payment of that portion of the Statement to which the objection

 is directed and will promptly pay the remainder of the fees and disbursements in the percentages
                                                 3
Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 5 of 22




 set forth above. To the extent such objection is not resolved, it shall be preserved and scheduled

 for consideration at the next interim fee application hearing.

  Dated: May 25, 2021                                  Respectfully submitted,

                                                       By:/s/ Paul N. Shields
                                                          Matthew K. Babcock
                                                          Paul N. Shields
                                                          Berkeley Research Group, LLC
                                                          201 South Main Street, Suite 450
                                                          Salt Lake City, Utah 84111
                                                          Telephone: (801) 364-6233
                                                          Email: mbabcock@thinkbrg.com
                                                                 pshields@thinkbrg.com

                                                       Financial Advisors to the Official Committee of
                                                       Unsecured Creditors




                                                  4
Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 6 of 22




                                     EXHIBIT A

                                 (Timekeeper Summary)




 DOCS_LA:335712.2 76136/002
Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 7 of 22




       COMPENSATION BY TIMEKEEPER DURING COMPENSATION PERIOD
                 MARCH 1, 2021 THROUGH MARCH 31, 2021


       Name                  Title       Hourly Rate   Hours      Amount

 David Judd            Managing             $660         0.20          $132.00
                       Director
 Paul Shields          Managing             $620         9.80        $6,076.00
                       Director

 Ray Strong            Managing             $590         2.00        $1,180.00
                       Director
 Matthew Babcock       Associate            $540         2.20        $1,188.00
                       Director
 Jeffrey Shaw          Senior Managing      $475         5.70        $2,707.50
                       Consultant
 Sarita Bhattacharya   Consultant           $325        25.10        $8,157.50
 Shelby Chaffos        Associate            $235        31.10        $7,308.50
 Victoria Calder       Case Assistant       $110        25.00        $2,750.00
                                                       101.10       $29,499.50
Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 8 of 22




                                     EXHIBIT B

                                    (March Invoice)
  Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 9 of 22




To: The Roman Catholic Church for the Archdiocese of New Orleans                                       Page 2 of 15
c/o: Official Committee of Unsecured Creditors                                                    Invoice # 113809
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for   Client-Matter: 20532-033612
the Archdiocese of New Orleans

Services Rendered From March 1, 2021 Through March 31, 2021

PROFESSIONAL SERVICES
                                                                             Rate       Hours            Amount
Managing Director
  David Judd                                                               660.00        0.20             132.00
  Paul Shields                                                             620.00        9.80           6,076.00
  Ray Strong                                                               590.00        2.00           1,180.00

Associate Director
   Matthew Babcock                                                         540.00        2.20           1,188.00

Senior Managing Consultant
   Jeffrey Shaw                                                            475.00        5.70           2,707.50

Consultant
  Sarita Bhattacharya                                                      325.00       25.10           8,157.50

Associate
   Shelby Chaffos                                                          235.00       31.10           7,308.50

Case Assistant
   Victoria Calder                                                         110.00       25.00           2,750.00

Total Professional Services                                                            101.10          29,499.50
 Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 10 of 22




To: The Roman Catholic Church for the Archdiocese of New Orleans                                       Page 3 of 15
c/o: Official Committee of Unsecured Creditors                                                    Invoice # 113809
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for   Client-Matter: 20532-033612
the Archdiocese of New Orleans

SUMMARY BY TASK CODE

 Task Code    Description                                                                Hours          Amount
  200.20      Document / Data Analysis (Financial / Accounting)                          71.60         15,877.50
  200.30      Document / Data Analysis (Financial / Accounting) - Accounting System       0.90            501.00
  200.90      Document / Data Analysis (Production Requests)                              2.90          1,641.00
              Debtors Operations / Monitoring (Monthly Operating Reports / Periodic
   220.00     Reporting)                                                                  11.10         3,918.50
   300.00     Asset Analysis (General - Debtors)                                           3.00         1,167.00
   600.00     Claims / Liability Analysis (General)                                        5.50         2,612.50
  1060.00     Fee Application Preparation & Hearing                                        6.10         3,782.00

Total Professional Services                                                              101.10        29,499.50
 Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 11 of 22




To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 4 of 15
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113809
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Services Rendered From March 1, 2021 Through March 31, 2021

DETAIL OF PROFESSIONAL SERVICES

Date         Name                         Description                                 Hours        Rate          Amount

Task Code: 200.20 - Document / Data Analysis (Financial / Accounting)
03/17/21     Sarita Bhattacharya       Reviewed new production on Everlaw,             2.80      325.00           910.00
                                       including documents tagged for BRG
                                       review by counsel.
03/17/21     Sarita Bhattacharya          Video meeting with BRG (PS, SC) to           0.70      325.00           227.50
                                          discuss new production on Everlaw.
03/17/21     Shelby Chaffos               Video meeting with BRG (SB) to               0.70      235.00           164.50
                                          discuss new document production
                                          organization structure.
03/17/21     Shelby Chaffos               Spoke with BRG (PS, SB) to discuss           1.20      235.00           282.00
                                          new document production on Everlaw.
03/17/21     Paul Shields                 Participated on video call with BRG          0.70      620.00           434.00
                                          (SC, SB) regarding organization of
                                          Archdiocese of New Orleans
                                          document production, including
                                          review of select records.
03/17/21     Paul Shields                 Evaluated records in the context the         0.50      620.00           310.00
                                          organization of the records assess that
                                          records had been properly organized
                                          and indexed.
03/18/21     Sarita Bhattacharya          Video meeting with BRG (PS, SC) to           0.30      325.00            97.50
                                          review documents flagged by counsel
                                          in new production on Everlaw.
03/18/21     Shelby Chaffos               Video meeting with BRG (PS, SB)              0.30      235.00            70.50
                                          regarding document production and
                                          manner of organization of said
                                          records.
03/18/21     Shelby Chaffos               Evaluated document production from           2.70      235.00           634.50
                                          03/02/2021 (Bates Numbers: ANO (20-
                                          108426_00038661-00046741),
                                          including organization of said
                                          documents.
03/18/21     Shelby Chaffos               Reviewed document production from            2.30      235.00           540.50
                                          03/02/2021 (Bates Numbers: ANO (20-
                                          108426_00046747-00047178),
                                          including organization of said
                                          documents.
 Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 12 of 22




To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 5 of 15
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113809
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
03/18/21     Paul Shields                 Participated in status call with BRG         0.30      620.00           186.00
                                          (SC, SB) regarding the process of
                                          organizing the records produced by
                                          the Debtor in its most recent
                                          document productions.
03/19/21     Sarita Bhattacharya          Evaluated 2019-2020 promissory               2.60      325.00           845.00
                                          notes between ANO and parishes,
                                          including organization of said
                                          documents.
03/19/21     Shelby Chaffos               Evaluated document production from           2.10      235.00           493.50
                                          03/02/2021 (Bates Numbers: ANO (20-
                                          108426_00047703-00048400),
                                          including organization of said
                                          documents.
03/19/21     Shelby Chaffos               Evaluated document production from           2.20      235.00           517.00
                                          03/02/2021 (Bates Numbers: ANO (20-
                                          108426_00048467-00050670),
                                          including organization of said
                                          documents.
03/19/21     Shelby Chaffos               Evaluated document production from           2.00      235.00           470.00
                                          03/02/2021 (Bates Numbers: ANO (20-
                                          108426_00047184-00047701),
                                          including organization of said
                                          documents.
03/19/21     Shelby Chaffos               Evaluated document production from           1.50      235.00           352.50
                                          03/02/2021 (Bates Numbers: ANO (20-
                                          108426_00050772-00054660),
                                          including organization of said
                                          documents.
03/22/21     Shelby Chaffos               Evaluated document production from           2.70      235.00           634.50
                                          03/02/2021 (Bates Numbers: ANO (20-
                                          108426_00054660-00059039),
                                          including organization of said
                                          documents.
03/23/21     Victoria Calder              Evaluated document production for            0.20      110.00            22.00
                                          bates number 72552-72564, including
                                          organization of said documents.
03/23/21     Shelby Chaffos               Evaluated document production from           2.70      235.00           634.50
                                          03/02/2021 (Bates Numbers: ANO (20-
                                          108426_00059039-00060062),
                                          including organization of said
                                          documents.
 Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 13 of 22




To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 6 of 15
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113809
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
03/24/21     Sarita Bhattacharya          Evaluated 2019-2020 allonges to              2.90      325.00           942.50
                                          promissory notes issued by ANO,
                                          including organization of said
                                          documents.
03/24/21     Shelby Chaffos               Evaluated document production from           1.50      235.00           352.50
                                          03/02/2021 (Bates Numbers: ANO (20-
                                          108426_00060282-00062491),
                                          including organization of said
                                          documents.
03/25/21     Sarita Bhattacharya          Met with BRG (PS, SC) to review              0.60      325.00           195.00
                                          documents flagged by counsel for BRG
                                          review on Everlaw.
03/25/21     Sarita Bhattacharya          Created index to facilitate the              2.80      325.00           910.00
                                          evaluation of 2019-2020 promissory
                                          notes executed by ANO.
03/25/21     Victoria Calder              Evaluated document production for            2.40      110.00           264.00
                                          bates number 72565-72596, including
                                          organization of said documents.
03/25/21     Victoria Calder              Participated in meeting with BRG (PS,        0.60      110.00            66.00
                                          SC, SB) to determine progress and
                                          next steps in document production.
03/25/21     Shelby Chaffos               Spoke with BRG (PS, VC, SB) to discuss       0.60      235.00           141.00
                                          document production structure.
03/25/21     Paul Shields                 Conducted video meeting with BRG             0.60      620.00           372.00
                                          (SC, SB, VC) regarding status of
                                          document production analysis and to
                                          provide direction regarding
                                          organization of records.
03/26/21     Sarita Bhattacharya          Updated index re: 2019-2020                  2.50      325.00           812.50
                                          promissory notes and allonges issued
                                          by ANO.
03/26/21     Victoria Calder              Evaluated ANO bank account                   0.60      110.00            66.00
                                          statements from August 2017 through
                                          April 2020 (Account #3664), including
                                          organization of said documents.
03/26/21     Victoria Calder              Evaluated ANO bank account                   0.40      110.00            44.00
                                          statements from July 2017 through
                                          April 2020 (Account #5245), including
                                          organization of said documents.
 Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 14 of 22




To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 7 of 15
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113809
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
03/26/21     Victoria Calder              Evaluated ANO bank account                   1.00      110.00           110.00
                                          statements from September 2017
                                          through April 2020 (Account #2402),
                                          including organization of said
                                          documents.
03/26/21     Victoria Calder              Evaluated ANO bank account                   0.20      110.00            22.00
                                          statements from November 2019
                                          through April 2020 (Account #2718),
                                          including organization of said
                                          documents.
03/26/21     Victoria Calder              Evaluated ANO bank account                   0.40      110.00            44.00
                                          statements from July 2017 through
                                          April 2020 (Account #3049), including
                                          organization of said documents.
03/26/21     Shelby Chaffos               Evaluated document production from           3.00      235.00           705.00
                                          03/02/2021 (Bates Numbers: ANO (20-
                                          108426_00069509-00072599),
                                          including organization of said
                                          documents.
03/26/21     Shelby Chaffos               Evaluated document production from           2.10      235.00           493.50
                                          03/02/2021 (Bates Numbers: ANO (20-
                                          108426_00065765-00069488),
                                          including organization of said
                                          documents.
03/26/21     Shelby Chaffos               Evaluated document production from           1.70      235.00           399.50
                                          03/02/2021 (Bates Numbers: ANO (20-
                                          108426_00062491-00063986),
                                          including organization of said
                                          documents.
03/29/21     Victoria Calder              Evaluated ANO bank account                   0.20      110.00            22.00
                                          statements from July 2017 through
                                          April 2020 (Account # 9625), including
                                          organization of said documents.
03/29/21     Victoria Calder              Evaluated ANO bank account                   0.30      110.00            33.00
                                          statements from July 2017 through
                                          April 2020 (Account # 9680), including
                                          organization of said documents.
03/29/21     Victoria Calder              Evaluated Chapelle High Accounts             0.30      110.00            33.00
                                          bank account statements from July
                                          2017 through April 2020 (Account
                                          #0184), including organization of said
                                          documents.
 Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 15 of 22




To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 8 of 15
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113809
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
03/29/21     Victoria Calder              Evaluated ANO bank account                   0.30      110.00            33.00
                                          statements from September 2017
                                          through September 2019 (Account #
                                          7836), including organization of said
                                          documents.
03/29/21     Victoria Calder              Evaluated ANO bank account                   0.50      110.00            55.00
                                          statements from July 2017 through
                                          April 2020 (Account # 9614), including
                                          organization of said documents.
03/29/21     Victoria Calder              Evaluated Chapelle High Accounts             1.00      110.00           110.00
                                          bank account statements from July
                                          2017 through December 2020
                                          (Account #2809), including
                                          organization of said documents.
03/29/21     Victoria Calder              Evaluated Chapelle High Accounts             0.80      110.00            88.00
                                          bank account statements from July
                                          2017 through April 2020 (Account
                                          #3293), including organization of said
                                          documents.
03/29/21     Victoria Calder              Evaluated Chapelle High Accounts             1.60      110.00           176.00
                                          bank account statements from July
                                          2017 through April 2020 (Account
                                          #4967), including organization of said
                                          documents.
03/29/21     Victoria Calder              Evaluated Chapelle High Accounts             1.10      110.00           121.00
                                          bank account statements from July
                                          2017 through April 2020 (Account
                                          #1514), including organization of said
                                          documents.
03/29/21     Victoria Calder              Evaluated Chapelle High Accounts             1.20      110.00           132.00
                                          bank account statements from July
                                          2017 through April 2020 (Account
                                          #1745), including organization of said
                                          documents.
03/30/21     Victoria Calder              Evaluated Hannan Accounts bank               1.40      110.00           154.00
                                          account statements from August 2017
                                          through May 2020 (Account #8861),
                                          including organization of said
                                          documents.
 Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 16 of 22




To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 9 of 15
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113809
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
03/30/21     Victoria Calder              Evaluated Hannan Accounts bank               0.10      110.00            11.00
                                          account statements from April 2020
                                          (Account #5700), including
                                          organization of said documents.
03/30/21     Victoria Calder              Evaluated Hannan Accounts bank               0.80      110.00            88.00
                                          account statements from July 2017
                                          through April 2020 (Account #8501),
                                          including organization of said
                                          documents.
03/30/21     Victoria Calder              Evaluated Hannan Accounts bank               1.80      110.00           198.00
                                          account statements from July 2017
                                          through April 2020 (Account #8545),
                                          including organization of said
                                          documents.
03/30/21     Victoria Calder              Evaluated Hannan Accounts bank               0.90      110.00            99.00
                                          account statements from July 2017
                                          through April 2020 (Account #0079),
                                          including organization of said
                                          documents.
03/30/21     Victoria Calder              Evaluated Chapelle High Accounts             0.10      110.00            11.00
                                          bank account statements from April
                                          2020 (Account #5667), including
                                          organization of said documents.
03/31/21     Victoria Calder              Evaluated Holy Rosary School bank            0.50      110.00            55.00
                                          account statements from July 2018
                                          through June 2019 (Account #2009),
                                          including organization of said
                                          documents.
03/31/21     Victoria Calder              Evaluated Holy Rosary School bank            0.40      110.00            44.00
                                          account statements from July 2018
                                          through June 2019 (Account #3715),
                                          including organization of said
                                          documents.
03/31/21     Victoria Calder              Evaluated Holy Rosary School bank            0.20      110.00            22.00
                                          account statements from July 2018
                                          through January 2019 (Account
                                          #7577), including organization of said
                                          documents.
 Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 17 of 22




To: The Roman Catholic Church for the Archdiocese of New Orleans                                              Page 10 of 15
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113809
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
03/31/21     Victoria Calder              Evaluated Holy Rosary School bank            0.30      110.00            33.00
                                          account statements from July 2018
                                          through June 2019 (Account #9441),
                                          including organization of said
                                          documents.
03/31/21     Victoria Calder              Evaluated Our Lady of Guadalupe bank         1.10      110.00           121.00
                                          account statements from July 2018
                                          through April 2020 (Account #4318),
                                          including organization of said
                                          documents.
03/31/21     Victoria Calder              Evaluated Holy Rosary School bank            0.40      110.00            44.00
                                          account statements from July 2018
                                          through June 2019 (Account #4836),
                                          including organization of said
                                          documents.
03/31/21     Victoria Calder              Evaluated Holy Rosary School bank            0.40      110.00            44.00
                                          account statements from July 2018
                                          through June 2019 (Account #6705),
                                          including organization of said
                                          documents.
03/31/21     Victoria Calder              Evaluated Holy Rosary School bank            0.20      110.00            22.00
                                          account statements from July 2018
                                          through June 2019 (Account #6716),
                                          including organization of said
                                          documents.
03/31/21     Victoria Calder              Evaluated Pope John Paul II bank             0.70      110.00            77.00
                                          account statements from July 2017
                                          through April 2020 (Account #0271),
                                          including organization of said
                                          documents.
03/31/21     Victoria Calder              Evaluated Pope John Paul II bank             0.40      110.00            44.00
                                          account statements from July 2017
                                          through June 2018 (Account #8055),
                                          including organization of said
                                          documents.
03/31/21     Victoria Calder              Evaluated Pope John Paul II bank             0.60      110.00            66.00
                                          account statements from September
                                          2017 through June 2020 (Account
                                          #3199), including organization of said
                                          documents.
 Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 18 of 22




To: The Roman Catholic Church for the Archdiocese of New Orleans                                              Page 11 of 15
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113809
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
03/31/21     Victoria Calder              Evaluated Pope John Paul II bank             0.90      110.00            99.00
                                          account statements from July 2017
                                          through April 2020 (Account #4242),
                                          including organization of said
                                          documents.
03/31/21     Victoria Calder              Evaluated Pope John Paul II bank             0.70      110.00            77.00
                                          account statements from July 2017
                                          through November 2019 (Account
                                          #7297), including organization of said
                                          documents.
                                          Total for Task Code 200.20                  71.60                    15,877.50

Task Code: 200.30 - Document / Data Analysis (Financial / Accounting) - Accounting System
03/02/21     Ray Strong                Provided further analysis of                  0.30        590.00           177.00
                                       accounting system to counsel for
                                       document production issues.
03/24/21     Matthew Babcock              Spoke with Zobrio consultants in             0.60      540.00           324.00
                                          regard to accounting system data.
                                          Total for Task Code 200.30                   0.90                       501.00

Task Code: 200.90 - Document / Data Analysis (Production Requests)
03/23/21     Matthew Babcock           Prepared accounting system                      0.60      540.00           324.00
                                       declaration.
03/23/21     Matthew Babcock              Spoke with UCC Counsel (GB) and BRG          0.30      540.00           162.00
                                          (RS) in regard to accounting system
                                          declaration.
03/23/21     Ray Strong                   Discussed draft motion to compel             0.30      590.00           177.00
                                          production of accounting system with
                                          counsel (GB) and BRG team (MB).
03/24/21     Matthew Babcock              Spoke with BRG (RS) in regard to             0.20      540.00           108.00
                                          motion to compel production of
                                          accounting system data.
03/24/21     Matthew Babcock              Finalized declaration in support of          0.30      540.00           162.00
                                          motion to obtain complete accounting
                                          system data.
03/24/21     Ray Strong                   Discussed declarations regarding             0.20      590.00           118.00
                                          Motion to Compel Production of
                                          Accounting System with BRG team
                                          (MB).
 Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 19 of 22




To: The Roman Catholic Church for the Archdiocese of New Orleans                                              Page 12 of 15
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113809
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
03/24/21     Ray Strong                   Attended call with proposed Financial        0.60      590.00           354.00
                                          Edge consultants to discuss system
                                          and production issues.
03/24/21     Ray Strong                   Prepared declaration regarding               0.40      590.00           236.00
                                          Motion to Compel Production of
                                          Accounting System.
                                          Total for Task Code 200.90                   2.90                     1,641.00

Task Code: 220.00 - Debtors Operations / Monitoring (Monthly Operating Reports / Periodic Reporting)
03/01/21     Sarita Bhattacharya         Developed monthly comparative             2.10    325.00                 682.50
                                         analyses of financial information set
                                         forth in monthly operating reports.
03/03/21     Sarita Bhattacharya          Developed evaluation of AP aging             2.40      325.00           780.00
                                          information set forth in monthly
                                          operating reports.
03/09/21     Paul Shields                 Outlined further issues for                  0.20      620.00           124.00
                                          consideration in connection with
                                          evaluating data from monthly
                                          operating reports.
03/10/21     Sarita Bhattacharya          Developed evaluation of AR aging             2.80      325.00           910.00
                                          information set forth in monthly
                                          operating reports.
03/10/21     Sarita Bhattacharya          Developed evaluation of cash                 2.60      325.00           845.00
                                          reconciliation summary set forth in
                                          monthly operating reports.
03/11/21     Matthew Babcock              Spoke with BRG (DJ, RS, PS, JS) in           0.20      540.00           108.00
                                          regard to analysis of MORs / periodic
                                          reports.
03/11/21     David Judd                   Participated in Zoom call with Matt          0.20      660.00           132.00
                                          Babcock, Ray Strong, Paul Shields and
                                          Jeff Shaw regarding evaluation of data
                                          from monthly operating reports.
03/11/21     Jeffrey Shaw                 Attended call with BRG (RS, MB, PS,          0.20      475.00            95.00
                                          DJ) regarding case status and
                                          evaluation of data from monthly
                                          operating reports.
03/11/21     Paul Shields                 Participated on call with BRG (DJ, RS,       0.20      620.00           124.00
                                          MB, JS) regarding case status and
                                          issues, including evaluation of data
                                          from monthly operating reports.
 Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 20 of 22




To: The Roman Catholic Church for the Archdiocese of New Orleans                                              Page 13 of 15
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113809
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                          Description                                Hours        Rate          Amount
03/11/21     Ray Strong                    Discussed MOR/periodic reports for          0.20      590.00           118.00
                                           ongoing evaluation and monitoring
                                           with BRG team (MB, DJ, PS, JS).
                                           Total for Task Code 220.00                 11.10                     3,918.50

Task Code: 300.00 - Asset Analysis (General - Debtors)
03/24/21     Shelby Chaffos              Spoke with BRG (PS) to discuss the            0.50      235.00           117.50
                                         deposit and loan fund.
03/24/21     Shelby Chaffos                Researched fund balances in the             1.30      235.00           305.50
                                           deposit and loan fund program.
03/24/21     Paul Shields                  Spoke with BRG (SC) regarding analysis      0.50      620.00           310.00
                                           of balances set forth by the Debtor in
                                           connection with the Deposit and Loan
                                           Fund.
03/24/21     Paul Shields                  Evaluated the Archdiocese Deposit           0.70      620.00           434.00
                                           and Loan Fund, including preparation
                                           of communication to counsel
                                           regarding same.
                                           Total for Task Code 300.00                  3.00                     1,167.00

Task Code: 600.00 - Claims / Liability Analysis (General)
03/02/21     Jeffrey Shaw                  Reviewed updated claims data from           0.30      475.00           142.50
                                           Donlin Recano.
03/05/21     Jeffrey Shaw                  Analyzed updated claims information         2.50      475.00         1,187.50
                                           through Mar 2, including revisions to
                                           claims schedules.
03/08/21     Jeffrey Shaw                  Reviewed updated claims information         0.80      475.00           380.00
                                           received from Donlin Recano.
03/16/21     Jeffrey Shaw                  Analyzed updated claims information         1.90      475.00           902.50
                                           through Mar 8, including revisions to
                                           claims schedules.
                                           Total for Task Code 600.00                  5.50                     2,612.50

Task Code: 1060.00 - Fee Application Preparation & Hearing
03/08/21     Paul Shields                Further preparation of Fee Statement          1.50      620.00           930.00
                                         for the period June 2020 to October
                                         2020, including finalizing inclusion of
                                         expenses.
 Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 21 of 22




To: The Roman Catholic Church for the Archdiocese of New Orleans                                              Page 14 of 15
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113809
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
03/09/21     Paul Shields                 Evaluated time entries in connection         0.30      620.00           186.00
                                          with preparation of fee statement for
                                          the period June 2020 through October
                                          2020.
03/10/21     Paul Shields                 Made further updates to fee                  2.30      620.00         1,426.00
                                          statement for the period June 2020
                                          through October 2020, including
                                          submission for final review and
                                          approval.
03/23/21     Paul Shields                 Made final adjustments to fee                0.40      620.00           248.00
                                          statement for the period June 2020
                                          through October 2020, including
                                          remittal of fee statement to UCC
                                          Counsel.
03/25/21     Paul Shields                 Researched information regarding the         0.40      620.00           248.00
                                          ability to generate LEDES files in
                                          response to request from the US
                                          Trustee's Office relating to BRG's June
                                          2020 to October 2020 fee statement.
03/25/21     Paul Shields                 Researched information regarding the         0.40      620.00           248.00
                                          ability to generate LEDES files in
                                          response to request from the US
                                          Trustee's Office relating to BRG's June
                                          2020 to October 2020 fee statement.
03/25/21     Paul Shields                 Accessed Excel files that obtain             0.30      620.00           186.00
                                          detailed time entry information in an
                                          effort to research the ability to
                                          generate LEDES files in response to a
                                          request from the US Trustee's Office
                                          regarding BRG's June 2020 to October
                                          2020 fee statement.
03/26/21     Paul Shields                 Communicated with billing                    0.20      620.00           124.00
                                          coordinator regarding generation of
                                          LEDES files in response to a request
                                          from the US Trustee's Office regarding
                                          BRG's June 2020 to October 2020 fee
                                          statement.
 Case 20-10846 Doc 891-6 Filed 05/27/21 Entered 05/27/21 22:41:59 Exhibit F Page 22 of 22




To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 15 of 15
c/o: Official Committee of Unsecured Creditors                                                             Invoice # 113809
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for            Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours         Rate          Amount
03/27/21     Paul Shields                 Communicated with billing                     0.10      620.00            62.00
                                          coordinator regarding generation of
                                          LEDES files in response to a request
                                          from the US Trustee's Office regarding
                                          BRG's June 2020 to October 2020 fee
                                          statement.
03/29/21     Paul Shields                 Prepared LEDES files for UCC Counsel.         0.20      620.00           124.00
                                          Total for Task Code 1060.00                   6.10                     3,782.00

Professional Services                                                                 101.10                    29,499.50
